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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

 LAURA WONDERCHECK,                            )
                                               )
                  Plaintiff,                   )
                                               )
                      v.                       )
                                               )         Civil Action No. 1:19-cv-00640-LY
 MAXIM HEALTHCARE SERVICES,                    )
 INC.,                                         )
                                               )
                 Defendant.                    )

       DEFENDANT MAXIM HEALTHCARE SERVICES, INC.’S EXHIBIT LIST

       Pursuant to Local Rule CV-16(e)(4), Defendant Maxim Healthcare Services, Inc. submits

its exhibit list. Maxim reserves the right to rely on any exhibit introduced by Plaintiff Laura

Wondercheck or exhibits used for impeachment or refreshing recollection of witnesses.

       Maxim expects to offer the following exhibits:

 Ex.                                                          Date
                Bates No.                Description                     Marked Admitted
 No.                                                         Offered

 D-1    WONDERCHECK000160- Wondercheck’s
        61                 résumé

 D-2    WONDERCHECK000162- IHSC Pharmacy
        64                 Technician job
                           description (pre-
                           contract version)

 D-3    WONDERCHECK000215- Wondercheck’s
        18                 Maxim application

 D-4    WONDERCHECK000222- Maxim Pharmacy
        25                 Technician job
                           description

 D-5    WONDERCHECK000380            June 9, 2016
                                     Integrity Hotline
                                     call report


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Ex.                                               Date
            Bates No.           Description                Marked Admitted
No.                                              Offered

D-6   WONDERCHECK000383- June 2016 Maxim
      424                Caregiver
                         Employee
                         Handbook

D-7   WONDERCHECK000425- Maxim Code of
      64                 Conduct

D-8   WONDERCHECK000482      Wondercheck
                             Employee
                             Transcript

D-9   WONDERCHECK000483- Wondercheck
      89                 compliance
                         training
                         certificates

D-10 WONDERCHECK000490       Wondercheck
                             signed Handbook
                             Acknowledgment

D-11 WONDERCHECK000491       Wondercheck
                             Code of Conduct
                             certificate
                             (June 21, 2015)

D-12 WONDERCHECK000493       Wondercheck
                             Code of Conduct
                             certificate
                             (May 24, 2016)

D-13 WONDERCHECK000497- September 19,
     585                2011 Maxim
                        Deficit Reduction
                        Act Policy
                        Package

D-14 WONDERCHECK000586       July 11, 2016
                             Wondercheck
                             Corrective Action
                             Form –
                             Termination



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Ex.                                              Date
            Bates No.          Description                Marked Admitted
No.                                             Offered

D-15 WONDERCHECK000592- January 3, 2012
     93                 Maxim Anti-
                        Retaliation, and
                        Non-Intimidation
                        (Whistleblower
                        Protection) Policy

D-16 WONDERCHECK000618- June 2016 email
     22                 exchange with
                        Maxim employees
                        and Linda
                        Applewhite

D-17 WONDERCHECK000616- June 22, 2016
     17                 Wondercheck
                        Corrective Action
                        Form – Initial
                        Warning

D-18 WONDERCHECK000889- Contract No.
     1120               HSCEDM-15-C-
                        00004 with
                        Statement of Work
                        and appendices

D-19 WONDERCHECK000994- IHSC Pharmacy
     98                 Technician job
                        description
                        (contract version)

D-20 WONDERCHECK001243- ICE Health
     60                 Service Corps
                        LOP 00-42 with
                        signature pages

D-21 WONDERCHECK001275      July 11, 2016
                            Bradley Switter
                            Corrective Action
                            Form –
                            Termination




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Ex.                                              Date
            Bates No.           Description               Marked Admitted
No.                                             Offered

D-22 WONDERCHECK001283- December 22,
     94                 2016 Settlement
                        Agreement and
                        Release by and
                        between Maxim
                        and the United
                        States of America

D-23 WONDERCHECK001295- June 21, 2016
     96                 letter terminating
                        An Nguyen’s
                        contract with
                        Maxim

D-24 WONDERCHECK001299- December 2016
     1302               email exchange
                        with David Singer,
                        Daniel Murphy,
                        Nick Bradley,
                        Brittany Tobias,
                        Eric Wishner, and
                        others regarding
                        the costs
                        associated with
                        Nguyen’s fraud
                        (redacted)

D-25 WONDERCHECK001303- McKesson Dilley
     04                 Purchasing Detail
                        Report/Invoice
                        Detail Level

D-26 Wondercheck000105-11,    Wondercheck
     308-27                   Employee Data
                              Report

D-27 Wondercheck000252-258,   Wondercheck pay
     263-66                   stubs from
                              Brookshire
                              Brothers




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Ex.                                             Date
            Bates No.           Description              Marked Admitted
No.                                            Offered

D-28 Wondercheck000259       June 2, 2017
                             Wondercheck
                             Earnings
                             Statement from
                             Maxim

D-29 Wondercheck000260-62    Wondercheck
                             earnings
                             statements from
                             Target

D-30 Wondercheck000330-34,   2015-2019
     338                     Wondercheck W-
                             2s

D-31 Wondercheck000335-36    Wondercheck
                             Employment
                             Applications




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       Maxim may offer the following exhibits:

Ex.                                                          Date
               Bates No.                Description                   Marked   Admitted
No.                                                         Offered

D-32                               Plaintiff’s Original
                                   Complaint

D-33                               Plaintiff’s Answers
                                   and Objections to
                                   Defendant’s First Set
                                   of Interrogatories

D-34 WONDERCHECK000381             June 29, 2016
                                   Integrity Hotline call
                                   report

D-35 WONDERCHECK000382             July 2, 2016 Integrity
                                   Hotline call report

D-36 WONDERCHECK000475             Wondercheck
     -81                           Pharmacy Technician
                                   Orientation and
                                   Annual Competencies

D-37 WONDERCHECK000587             February 24, 2016
     -91                           Maxim Corrective
                                   Action Policy

D-38 WONDERCHECK000597             June 15, 2016 monthly
     -613                          staff meeting slide
                                   deck

D-39 WONDERCHECK000657             February 25, 2016
     -                             Final Exam General
                                   Compliance

D-40 WONDERCHECK000660             2016 Annual General
     -63                           Compliance and
                                   Ethics Training
                                   Course Outline

D-41 WONDERCHECK000664             2016 Annual General
     -90                           Compliance and
                                   Ethics Training Script



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Ex.                                                 Date
           Bates No.            Description                  Marked   Admitted
No.                                                Offered

D-42 WONDERCHECK000691     2016 Clinical
     -94                   Compliance Staffing –
                           Course Outline

D-43 WONDERCHECK000695     Online Clinical
     -883                  Compliance
                           curriculum scripts

D-44 WONDERCHECK001155     2016 Maxim Facility
     -87                   Guidelines and
                           Orientation Manual

D-45 WONDERCHECK001188     2015 Clinical
     -90                   Compliance Staffing
                           Skilled Training
                           Course Outline

D-46 WONDERCHECK001191     2015 New Hire/Rehire
     -1238                 General Compliance
                           and Ethics Training

D-47 WONDERCHECK001239     2015 Annual General
     -42                   Compliance and
                           Ethics Training
                           Course Outline

D-48 WONDERCHECK001261     June 20, 2016 email
     -64                   from Jeff DeCarlo to
                           Shawn Coffin
                           attaching McKesson
                           invoices

D-49 WONDERCHECK001265     June 30, 2016 TSBP
     -66                   Online Complaint
                           regarding Nguyen

D-50 WONDERCHECK001267     July 11, 2016 TSBP
     -68                   Online Complaint
                           regarding
                           Wondercheck




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Ex.                                                      Date
            Bates No.             Description                     Marked   Admitted
No.                                                     Offered

D-51 WONDERCHECK001269       July 11, 2016 TSBP
     -70                     Online Complaint
                             regarding Switter

D-52 WONDERCHECK001271       July 13, 2016 email
     -74                     exchange with Coffin
                             and Thomas Hochberg
                             regarding Nguyen

D-53 WONDERCHECK001276       June 21, 2016 email
     -79                     exchange with
                             Murphy, Coffin,
                             Kristin Stemple,
                             Thomas Gillespie, and
                             Jenny Moon regarding
                             Nguyen termination
                             and suspension

D-54 WONDERCHECK001280       July 2016 email
     -82                     exchange with
                             Murphy, Jawn Oilar,
                             Gillespie, and Coffin
                             regarding Switter’s
                             and Wondercheck’s
                             terminations

D-55 Wondercheck000289-307   Wondercheck earnings
                             statements from
                             Maxim

D-56 Wondercheck001028       Maxim Federal
                             contracts in force as of
                             July 2016 (redacted)




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Dated: November 6, 2020                    Respectfully submitted,

                                           /s/ Lindsay A. Hedrick
                                           Lindsay A. Hedrick
                                           Texas State Bar No. 24067655
                                           Victoria L. Bliss
                                           Texas State Bar No. 24105479
                                           JONES DAY
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                                           Attorneys for Defendant Maxim Healthcare
                                           Services, Inc.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 6, 2020, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system, which will send electronic notice to all counsel of record.


                                                     /s/ Lindsay A. Hedrick
                                                     Lindsay A. Hedrick




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